       Case 1:21-cr-00237-RDM Document 118-1 Filed 11/29/21 Page 1 of 2




                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                    November 26, 2021

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District of Oregon                           1424 K Street NW, Suite 500
101 SW Main Street, Suite 1700               Washington, D.C. 20005
Portland, OR 97204

       Re:      United States v. Jonathan Peter Klein & Matthew Leland Klein
                Case No. 21-CR-237

Dear Counsel:

        I have uploaded to USAfx an additional batch of discovery consisting of the Non-Sensitive,
Sensitive, and Highly Sensitive items identified in Attachment A to this letter. Please note, the
government reserves the right to modify these designations to the extent an item’s sensitivity was
not properly categorized in this preliminary discovery. Please let us know if there are any items
for which you would like a designation to be reviewed or reconsidered.

                                                    Sincerely,

                                                    s/ Christopher K. Veatch
                                                    CHRISTOPHER K. VEATCH
                                                    Assistant United States Attorney
Case 1:21-cr-00237-RDM Document 118-1 Filed 11/29/21 Page 2 of 2
